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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

    KRISTINA STODDARD, TAL-
    BETH COHEN, MARCELA DIAZ,
    DENISE FUTCH, MARK
    MICHAELSON, JOSEPH NAPIER,
    ERIC PEHMOELLER, and
    ROBERT WEAVER,

          Plaintiffs,
                                                     Case No. 3:21-cv-413-TJC-JBT
    v.

    MIAMI AIR INTERNATIONAL,
    INC.,

          Defendant.


         AMENDED CASE MANAGEMENT AND SCHEDULING ORDER

          At the undersigned’s request, the Honorable Joel B. Toomey, United

    States Magistrate Judge, held a status conference and motion hearing on

    January 11, 2024, the record of which is incorporated by reference. In light of

    the entry of this amended schedule, the pending motions (Docs. 160 & 175) are

    terminated as moot. The January 3, 2023 Case Management and Scheduling

    Order (Doc. 94) is amended to the following extent:

          Defendant to produce remaining expert
           reports tied to recent CMEs:                    February 8, 2024

          Plaintiffs to produce rebuttal reports:         March 22, 20241


          1   As agreed at the hearing, plaintiff’s biomechanical expert may inspect
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          All discovery to be completed:                   May 6, 20242

          Daubert and dispositive motion
           filing deadline:                                 June 3, 2024

          Responses:                                       June 24, 2024

          Replies on summary judgment
           (limited to 7 pages):                            July 8, 2024

          Argument on pending motions:                     August 29, 2024
           Courtroom 10D                                      10:00 a.m.


          The deadline for further mediation, for filing the final pretrial statement

    and motions in limine, the July 24, 2024 setting for the final pretrial conference

    and the August 5, 2024 trial setting are VACATED, to be reset once the Court

    decides the pending motions.

          DONE AND ORDERED at Jacksonville, Florida this 23rd day of

    January, 2024.




    the aircraft within a reasonable timeframe to meet this deadline, and with
    sufficient notice to defendant to permit access to the facility where the aircraft
    is housed.
          2Because many of the CMEs have been completed and expert reports
    already produced, the parties should be scheduling depositions of those doctors
    now to meet this final deadline.


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    s.
    copies:

    Honorable Joel B. Toomey
    United States Magistrate Judge

    Counsel of Record




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